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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               Case No.: 1:19-cv-23028-GAYLES

  AMANDA DEFRANKS and
  KATHERINE FOWLER, individually and
  on behalf of all others similarly situated,

         Plaintiffs,

  v.

  NASTYGAL.COM USA, INC.,

        Defendant,
  _______________________________________/

                       ORDER GRANTING FINAL APPROVAL TO
                  CLASS ACTION SETTLEMENT AND FINAL JUDGMENT

         On June 7, 2020, the Court granted preliminary approval to the proposed class action

  settlement set forth in the Settlement Agreement and Release between Plaintiffs Amanda Defranks

  and Katherine Fowler, on behalf of themselves and all members of the Settlement Class, and

  Defendant Nastygal.com USA Inc. (“Nastygal” or “Defendant”) (collectively, the “Parties”). [ECF

  No. 36]. The Court also provisionally certified the Settlement Class for settlement purposes,

  approved the procedure for giving Class Notice to the members of the Settlement Class, and set a

  Final Approval Hearing to take place on September 3, 2020. Id.

         On September 3, 2020 the Court held a duly noticed Final Approval Hearing to consider:

  (1) whether the terms and conditions of the Settlement Agreement are fair, reasonable, and

  adequate; (2) whether a judgment should be entered dismissing the Plaintiffs’ Complaint on the

  merits and with prejudice in favor of Defendant and against all persons or entities who are

  Settlement Class Members herein who have not requested exclusion from the Settlement Class;




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  and (3) whether and in what amount to award counsel for the Settlement Class as Attorneys’ Fees

  and Expenses and whether and in what amount to award Service Awards to Plaintiffs.

         NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

   I.    JURISDICTION OF THE COURT

         1.      The Court has personal jurisdiction over the parties and the Settlement Class

  Members, venue is proper, and the Court has subject matter jurisdiction to approve the Agreement,

  including all exhibits thereto, and to enter this Final Approval Order. Without in any way affecting

  the finality of this Final Approval Order, this Court hereby retains jurisdiction as to all matters

  relating to administration, consummation, enforcement, and interpretation of the Settlement

  Agreement and of this Final Approval Order, and for any other necessary purpose.

         2.      The Settlement Agreement was negotiated at arm’s length by experienced counsel

  who were fully informed of the facts and circumstances of this litigation (the “Action”) and of the

  strengths and weaknesses of their respective positions. The Settlement Agreement was reached

  after the Parties had engaged in mediation and extensive settlement discussions and after the

  exchange of information, including information about the size and scope of the Settlement Class.

  Counsel for the Parties were therefore well positioned to evaluate the benefits of the Settlement

  Agreement, taking into account the expense, risk, and uncertainty of protracted litigation.

         3.      The Court finds that the prerequisites for a class action under Fed. R. Civ. P. 23

  have been satisfied for settlement purposes for each Settlement Class Member in that: (a) the

  number of Settlement Class Members is so numerous that joinder of all members thereof is

  impracticable; (b) there are questions of law and fact common to the Settlement Class; (c) the

  claims of Plaintiffs are typical of the claims of the Settlement Class they seek to represent; (d)

  Plaintiffs have and will continue to fairly and adequately represent the interests of the Settlement



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  Class for purposes of entering into the Settlement Agreement; (e) the questions of law and fact

  common to the Settlement Class Members predominate over any questions affecting any

  individual Settlement Class Member; (f) the Settlement Class is ascertainable; and (g) a class

  action is superior to the other methods for the fair and efficient adjudication of the controversy.

  II.    CERTIFICATION OF SETTLEMENT CLASS

         4.      Pursuant to Fed. R. Civ. P. 23, this Court hereby finally certifies the Settlement

  Class, as identified in the Settlement Agreement: “All persons who from four years prior to the

  filing of this action (1) were sent a text message by or on behalf of Defendant, (2) using an

  automatic telephone dialing system, (3) for the purpose of soliciting Defendant’s goods and

  services, and (4) for whom Defendant claims (a) it did not obtain prior express written consent, or

  (b) it obtained prior express written consent in the same manner as Defendant claims it supposedly

  obtained prior express written consent to call the Plaintiff.” Excluded from the Settlement Class

  are: (i) the district judge and magistrate judge presiding over this case, the judges of the U.S. Court

  of Appeals for the Eleventh Circuit, their spouses, and persons within the third degree of

  relationship to either of them; (2) individuals who are or were during the Class Period agents,

  directors, employees, officers, or servants of Nastygal or of any affiliate or parent of Nastygal;

  (3) Plaintiffs’ counsel and their employees; and (4) all persons who file a timely and proper request

  to be excluded from the Settlement Class in accordance with the Settlement Agreement.

  III.   APPOINTMENT OF CLASS REPRESENTATIVES AND CLASS COUNSEL

         5.      The Court finally appoints Scott A. Edelsberg of Edelsberg Law, P.A.; Andrew J.

  Shamis of Shamis & Gentile P.A; and Abbas Kazerounian of Kazerouni Law Group, APC; as

  Class Counsel for the Settlement Class.




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         6.      The Court finally designates Plaintiffs Amanda Defranks and Katherine Fowler as

  the Class Representatives.

  IV.    NOTICE AND CLAIMS PROCESS

         7.      The Court makes the following findings on notice to the Settlement Class:

                 (a)     The Court finds that the distribution of the Class Notice, as provided for in

  the Settlement Agreement, (i) constituted the best practicable notice under the circumstances to

  Settlement Class Members; (ii) constituted notice that was reasonably calculated, under the

  circumstances, to apprise Settlement Class Members of, among other things, the pendency of the

  Action, the nature and terms of the proposed Settlement, their right to object or to exclude

  themselves from the proposed Settlement, and their right to appear at the Final Approval Hearing;

  (iii) was reasonable and constituted due, adequate, and sufficient notice to all persons entitled to

  be provided with notice; and (iv) complied fully with the requirements of Fed. R. Civ. P. 23, the

  United States Constitution, the Rules of this Court, and any other applicable law.

                 (b)     The Court finds that the Class Notice and methodology set forth in the

  Settlement Agreement, the Preliminary Approval Order, and this Final Approval Order

  (i) constitute the most effective and practicable notice of the Final Approval Order, the relief

  available to Settlement Class Members pursuant to the Final Approval Order, and applicable time

  periods; (ii) constitute due, adequate, and sufficient notice for all other purposes to all Settlement

  Class Members; and (iii) comply fully with the requirements of Fed. R. Civ. P. 23, the United

  States Constitution, the Rules of this Court, and any other applicable laws.

  V.     FINAL APPROVAL OF THE CLASS ACTION SETTLEMENT

         8.      The Settlement Agreement is finally approved in all respects as fair, reasonable and

  adequate. The terms and provisions of the Settlement Agreement, including all Exhibits thereto,



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  have been entered into in good faith and are hereby fully and finally approved as fair, reasonable,

  and adequate as to, and in the best interests of, each of the Parties and Settlement Class Members.

  VI.    ADMINISTRATION OF THE SETTLEMENT

         9.      The Parties are hereby directed to implement the Settlement Agreement according

  to its terms and provisions. The Administrator is directed to provide Claim Settlement Payments

  to those Settlement Class Members who submit valid, timely, and complete Claims.

         10.     The Court hereby approves Class Counsel’s request for attorney fees, costs, and

  expenses, and awards Class Counsel $950,000 as reasonable attorneys’ fees and costs, inclusive

  of the award of reasonable costs incurred in this Action. The Court finds that the requested fees

  are reasonable under the percentage of the fund for the reasons set forth herein. The award of

  attorneys’ fees and costs to Class Counsel shall be paid from the Settlement Fund within the time

  period and manner set forth in the Settlement Agreement.

         11.     The Court hereby awards Class Counsel for their time incurred and expenses

  advanced. The Court has concluded that: (a) Class Counsel achieved a favorable result for the

  Class by obtaining Defendant’s agreement to make significant funds available to Settlement Class

  Members, subject to submission of valid claims by eligible Settlement Class Members; (b) Class

  Counsel devoted substantial effort to pre- and post-filing investigation, legal analysis, and

  litigation; (c) Class Counsel prosecuted the Settlement Class’s claims on a contingent fee basis,

  investing significant time and accumulating costs with no guarantee that they would receive

  compensation for their services or recover their expenses; (d) Class Counsel employed their

  knowledge of and experience with class action litigation in achieving a valuable settlement for the

  Settlement Class, in spite of Defendant’s possible legal defenses and its experienced and capable

  counsel; (e) Class Counsel have standard contingent fee agreements with Plaintiff, who has



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  reviewed the Settlement Agreement and been informed of Class Counsel’s fee request and have

  approved; and (f) the Notice informed Settlement Class Members of the amount and nature of

  Class Counsel’s fee and cost request under the Settlement Agreement, Class Counsel filed and

  posted their Petition in time for Settlement Class Members to make a meaningful decision whether

  to object to the Class Counsel’s fee request, and zero Settlement Class Member(s) objected.

         12.     In addition, the Court has applied the factors articulated in Camden I Condominium

  Ass’n, Inc. v. Dunkle, 946 F.2d 768 (11th Cir. 1991), to confirm the reasonableness of fees and

  costs requested. The Court finds and concludes that the following applicable factors support the

  requested award of attorneys’ fees and costs:

                 a.     Time and Labor Required, Preclusion from Other Employment and Time
                        Limits Imposed

         The work required of Class Counsel was extensive. These efforts required work

  representing Plaintiffs and the Class without compensation. The substantial work necessitated by

  this case diverted Class Counsel from putting time and resources into other matters.

                 b.     Case Involved Difficult Issues; Risk of Nonpayment and Not Prevailing on
                        the Claims Was High

         This case involved difficult substantive issues which presented a significant risk of

  nonpayment, including uncertainty on class certification, contested issues, including whether there

  was Article III standing, the software and equipment used to send the messages constituted an

  Automatic Telephone Dialing System in a setting of developing case law and FCC rulings and

  recovery being dependent on a successful outcome, which was uncertain.

                 c.     Class Counsel Achieved an Excellent Result for the Settlement Class

         Class Counsel achieved excellent monetary results for Settlement Class Members. Here,

  the Settlement required Defendant to make available up to approximately $4,025,000 in cash or



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  $5,175,000 in vouchers for the Settlement Class and will produce a per person cash benefit that is

  well within the range of recoveries established by other court approved TCPA class action

  settlements. See, e.g., Spillman v. RPM Pizza, LLC, Case No. 3:10-cv-00349.

                 d.      The Requested Fee is Consistent with Customary Fees Awarded in Similar
                         Cases

         Many similar TCPA class settlements provide for one third of the fund. See Guarisma v.

  ADCAHB Medical Coverages, Inc., 1:13-cv-21016, [ECF No. 95] (awarding one-third plus costs).

  Common-fund attorney fee awards of one-third are “consistent with the trend in this Circuit.”

  Reyes v. AT&T Mobility Servs., LLC, No. 10-20837-CIV, [ECF No. 196 at 6]. Here, Class Counsel

  is awarded less than in these other cases— roughly 23.0%. This outcome was made possible by

  Class Counsel’s extensive experience in litigating class actions of similar size, scope, and

  complexity to the instant action. Class Counsel regularly engage in complex litigation involving

  consumer issues, all have been class counsel in numerous consumer class action cases.

                 e. This Case Required a High Level of Skill

         Class Counsel achieved a settlement that confers substantial monetary benefits to the

  Settlement Class despite the hard-fought litigation against a sophisticated and well-financed defendant

  represented by top-tier counsel. See In re Sunbeam Sec. Litig., 176 F. Supp. 2d 1323, 1334 (S.D.

  Fla. 2001).

         13.     The Court awards Service Awards in the amount of $5,000.00 to each Plaintiff

  payable pursuant to the terms of the Settlement Agreement.

  VII.   RELEASE OF CLAIMS

         14.     Upon entry of this Final Approval Order, all members of the Class who did not

  validly and timely submit Requests for Exclusion in the manner provided in the Agreement shall,

  by operation of this Final Approval Order, have fully, finally and forever released, relinquished

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  and discharged Nastygal and the Released Parties from the Released Claims as set forth in the

  Settlement Agreement.

         15.     Furthermore, all members of the Class who did not validly and timely submit

  Requests for Exclusion in the manner provided in the Agreement are hereby permanently barred

  and enjoined from filing, commencing, prosecuting, maintaining, intervening in, participating in,

  conducting or continuing, either directly or in any other capacity, either individually or as a class,

  any action or proceeding in any court, agency, arbitration, tribunal or jurisdiction, asserting any

  claims released pursuant to the Settlement Agreement, or seeking an award of fees and costs of

  any kind or nature whatsoever and pursuant to any authority or theory whatsoever, relating to or

  arising from the Action or that could have been brought in the Action and/or as a result of or in

  addition to those provided by the Settlement Agreement.

         16.     The terms of the Settlement Agreement and of this Final Approval Order, including

  all Exhibits thereto, shall be forever binding on, and shall have res judicata and preclusive effect

  in, all pending and future lawsuits maintained by Plaintiffs and all other Settlement Class

  Members, as well as their heirs, executors and administrators, successors, and assigns.

         17.     The Releases, which are set forth in the Settlement Agreement and which are also

  set forth below, are expressly incorporated herein in all respects and are effective as of the date

  of this Final Approval Order; and the Released Parties (as that term is defined below and in the

  Settlement Agreement) are forever released, relinquished, and discharged by the Releasing

  Persons (as that term is defined below and in the Settlement Agreement) from all Released Claims

  (as that term is defined below and in the Settlement Agreement).




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                 (a)     The Settlement Agreement and Releases do not affect the rights of

  Settlement Class Members who timely and properly submit a Request for Exclusion from the

  Settlement in accordance with the requirements of the Settlement Agreement.

                 (b)     The administration and consummation of the Settlement as embodied in the

  Settlement Agreement shall be under the authority of the Court. The Court shall retain jurisdiction

  to protect, preserve, and implement the Settlement Agreement, including, but not limited to,

  enforcement of the Releases. The Court expressly retains jurisdiction in order to enter such further

  orders as may be necessary or appropriate in administering and implementing the terms and

  provisions of the Settlement Agreement.

                 (c)     The Settlement Agreement shall be the exclusive remedy for any and all

  Settlement Class Members, except those who have properly requested exclusion (opted out), and

  the Released Parties shall not be subject to liability or expense for any of the Released Claims to

  any Settlement Class Member(s).

                 (d)     The Releases shall not preclude any action to enforce the terms of the

  Settlement Agreement, including participation in any of the processes detailed therein. The

  Releases set forth herein and in the Settlement Agreement are not intended to include the release

  of any rights or duties of the Settling Parties arising out of the Settlement Agreement, including

  the express warranties and covenants contained therein.

         18.     Plaintiffs and all Settlement Class Members who did not timely exclude

  themselves from the Settlement Class are, from this day forward, hereby permanently barred and

  enjoined from directly or indirectly: (i) asserting any Released Claims in any action or proceeding;

  (ii) filing, commencing, prosecuting, intervening in, or participating in (as class members or

  otherwise), any lawsuit based on or relating to any the Released Claims or the facts and



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   circumstances relating thereto; or (iii) organizing any Settlement Class Members into a separate

   class for purposes of pursuing as a purported class action any lawsuit (including by seeking to

   amend a pending complaint to include class allegations, or seeking class certification in a pending

   action) based on or relating to any of the Released Claims.

   VIII. NO ADMISSION OF LIABILITY
          19.     Neither the Settlement Agreement, nor any of its terms and provisions, nor any of

   the negotiations or proceedings connected with it, nor any of the documents or statements referred

   to therein, nor this Final Approval Order, nor any of its terms and provisions, shall be:

                  (a)     offered by any person or received against Nastygal or any Released Party

   as evidence of, or construed as or deemed to be evidence of, any presumption, concession, or

   admission by Nastygal of the truth of the facts alleged by any person, the validity of any claim that

   has been or could have been asserted in the Action or in any other litigation or judicial or

   administrative proceeding, the deficiency of any defense that has been or could have been asserted

   in the Action or in any litigation, or of any liability, negligence, fault, or wrongdoing by Nastygal

   or any Released Party;

                  (b)     offered by any person or received against Nastygal or any Released Party

   as evidence of a presumption, concession, or admission of any fault or violation of any law by

   Nastygal or any Released Party; or

                  (c)     offered by any person or received against Nastygal or any Released Party

   as evidence of a presumption, concession, or admission with respect to any liability, negligence,

   fault, or wrongdoing in any civil, criminal, or administrative action or proceeding.

   IX.    OTHER PROVISIONS

          20.     This Final Approval Order and the Settlement Agreement (including the Exhibits

   thereto) may be filed in any action against or by any Released Party (as that term is defined

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   herein and the Settlement Agreement) to support a defense of res judicata, collateral estoppel,

   release, good faith settlement, judgment bar or reduction, or any theory of claim preclusion or

   issue preclusion or similar defense or counterclaim.

          21.     Without further order of the Court, the Settling Parties may agree to reasonably

   necessary extensions of time to carry out any of the provisions of the Settlement Agreement.

          22.     In the event that the Effective Date does not occur, this Final Approval Order shall

   automatically be rendered null and void and shall be vacated and, in such event, all orders entered

   and released delivered in connection herewith shall be null and void. In the event that the Effective

   Date does not occur, the Settlement Agreement shall become null and void and be of no further

   force and effect, neither the Settlement Agreement nor the Court’s Orders, including this Order,

   shall be used or referred to for any purpose whatsoever, and the Parties shall retain, without

   prejudice, any and all objections, arguments, and defenses with respect to class certification,

   including the right to argue that no class should be certified for any purpose, and with respect to

   any claims or allegations in this Action.

          23.     This Action, including all individual claims and class claims presented herein, is

   hereby dismissed on the merits and with prejudice against Plaintiffs and all other Settlement Class

   Members, without fees or costs to any party except as otherwise provided herein. Finding that

   there is no just reason for delay, the Court orders that this Final Approval Order shall constitute a

   final judgment pursuant to Fed. R. Civ. P. 54.

          DONE AND ORDERED in Chambers in Miami, Florida, this 4th day of September, 2020.



                                                 ____________________________________
                                                 DARRIN P. GAYLES
                                                 UNITED STATES DISTRICT JUDGE
   Copies furnished to: Counsel of Record

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